Form TRANSC

                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In re Debtor(s):                                                         Case No.: 22−50339 SLJ 13
                                                                         Chapter: 13
Michael Haroutun Miroyan



                               NOTICE OF FILING OF TRANSCRIPT
                     AND DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on September 6, 2022 was filed on September 12, 2022. The following deadlines
apply:

The parties have until Monday, September 19, 2022 to file with the court a Notice of Intent to Request Redaction of
this transcript. The deadline for filing a request for redaction is Monday, October 3, 2022.

If a request for redaction is filed, the redacted transcript is due Thursday, October 13, 2022.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is Monday, December 12, 2022, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber,

Susan Palmer
8105 Mariners Dr
No. 1005
Stockton, CA 95219−4554

or you may view the document at the clerk's office public terminal.




Dated: 9/14/22                                      For the Court:


                                                    Edward J. Emmons
                                                    Clerk of Court
                                                    United States Bankruptcy Court




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